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AO 245B (Rev. 09/17)   Judgment in a Criminal Case



                                            UNITED STATES DISTRICT COURT
                                                                 District of Colorado
                                                                            )
              UNITED STATES OF AMERICA                                      )    JUDGMENT IN A CRIMINAL CASE
                                   v.                                       )
                                                                            )
                                                                            )    Case Number:         17-cr-00168-CMA-1
                KAREN LYNN MCCLAFLIN                                        )    USM Number:          44166-013
                                                                           )
                                                                            )    Thomas James Hammond
                                                                            )    Defendant’s Attorney
THE DEFENDANT:
‫ ܈‬pleaded guilty to count(s)        1 and 2 of the Information
‫ ܆‬pleaded nolo contendere to count(s)
  which was accepted by the court.
‫ ܆‬was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended             Count
18 U.S.C. § 1343                  Wire Fraud                                                                 02/2017                  1
18 U.S.C. § 1957                  Monetary Transaction in Property Derived from Wire Fraud                 09/02/2016                 2




       The defendant is sentenced as provided in pages 2 through               9         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
‫ ܆‬The defendant has been found not guilty on count(s)
‫ ܆‬Count(s)                                             ‫ ܆‬is        ‫܆‬   are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        May 10, 2018
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge




                                                                        Christine M. Arguello, United States District Judge
                                                                        Name and Title of Judge


                                                                                   5/14/2018
                                                                        Date
                                       
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 DEFENDANT:                   KAREN LYNN MCCLAFLIN
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                                                           IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
         NINETY-SIX (96) MONTHS as to each count, to run concurrently.




      ‫܆‬    The court makes the following recommendations to the Bureau of Prisons:




      ‫܆‬    The defendant is remanded to the custody of the United States Marshal.

      ‫܆‬    The defendant shall surrender to the United States Marshal for this district:
           ‫܆‬      at                                      ‫܆‬      a.m. ‫܆‬        p.m.   on                                                 .
           ‫܆‬      as notified by the United States Marshal.

      ‫܈‬    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ‫܈‬      before 2 p.m. within 15 days of designation             .
           ‫܆‬      as notified by the United States Marshal.
           ‫܈‬      as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

 at                                                , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                              By
                                                                                                DEPUTY UNITED STATES MARSHAL
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 DEFENDANT:                   KAREN LYNN MCCLAFLIN
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: THREE (3) YEARS, as to each count, to run
concurrently.




                                                  MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               ‫ ܈‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.     ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
       restitution. (check if applicable)
5.     ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                                        STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
 4.    You must answer truthfully the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
       was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
       tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                                     Date
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                                           SPECIAL CONDITIONS OF SUPERVISION
    1. You must not incur new credit charges or open additional lines of credit without the approval of the probation officer,
       unless you are in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and
       sentence.
    2. You must provide the probation officer access to any requested financial information and authorize the release of any
       financial information until all financial obligations imposed by the court are paid in full.
    3. As directed by the probation officer, you must apply any monies received from income tax refunds, lottery winnings,
       inheritances, judgments, and any anticipated or unexpected financial gains to the outstanding court-ordered financial
       obligation in this case.
    4. You must make payment on the restitution obligation that remains unpaid at the commencement of supervision. Within
       60 days of the commencement of supervision, you must meet with the probation officer to develop a plan for the
       payment of the obligation. This plan will be based upon your income and expenses. The plan will be forwarded to the
       Court for review and approval.
    5. You must work with the probation officer in development of a monthly budget that will be reviewed with the probation
       officer quarterly.
    6. If you have an outstanding financial obligation, the probation office may share any financial or employment
       documentation relevant to you with the Asset Recovery Division of the United States Attorney's Office to assist in the
       collection of the obligation.
    7. You must document all income and compensation generated or received from any source and must provide that
       information to the probation officer as requested.
    8. All employment for you must be approved in advance by the supervising probation officer and you must not engage in
       any business activity unless it is approved by the probation officer. All approved business activity must operate under a
       formal, registered entity, and you must provide the probation officer with the names of the business entities and their
       registered agents. You must maintain business records for any approved business activity and provide all documentation
       and records as requested by the probation officer.
    9. You must maintain separate personal and business finances and must not co-mingle personal and business funds or
       income in any financial accounts, including but not limited to bank accounts and lines of credit.




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                                                 CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                        Assessment                 JVTA Assessment*               Fine                         Restitution
    TOTALS          $ 200.00                     $ 0.00                         $ 0.00                      $ 14,528,206.39


‫ ܆‬The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

‫ ܈‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid. Disbursement of restitution payments sent to victims and returned to the Clerk of Court as unclaimed or
       undeliverable shall be deposited into the Court’s registry and disbursed to the remaining victims.

    Name of Payee                                 Total Loss**                   Restitution Ordered                     Priority or Percentage
    Willem & Emily Adams                          $213,500.00                       $213,500.00
    ASI Capital Income Fund Inc                   $319,450.00                       $319,450.00
    Wendy Banning                                 $24,250.00                        $24,250.00
    Roger Barrack                                 $793,673.01                       $793,673.01
    Trevor & Laura Black                          $94,000.00                        $94,000.00
    John Jay Bradley                              $671,890.27                       $671,890.27
    Leland & Delores Brinkman                     $268,262.49                       $268,262.49
    Camisa LLC                                    $47,665.75                        $47,665.75
    Karole Campbell                               $11,906.14                        $11,906.14
    William & Jeanette Childs                     $85,979.72                        $85,979.72
    Sarah Davison-Steward                         $104,595.04                       $104,595.04
    Carol Dobbin                                  $124,549.84                       $124,549.84
    Mark & Jodi Dunn                              $141,851.56                       $141,851.56
    GST Exempt Trust (Sandra D. Elliot)           $60,094.70                        $60,094.70
    Judith Fasano                                 $68,055.60                        $68,055.60

    SEE NEXT PAGE FOR ADDITIONAL PAYEES
‫ ܆‬Restitution amount ordered pursuant to plea agreement               $

‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫ ܈‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ‫ ܈‬the interest requirement is waived for the          ‫ ܆‬fine       ‫ ܈‬restitution.

       ‫ ܆‬the interest requirement for the         ‫܆‬   fine     ‫ ܆‬restitution is modified as follows:

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                                                       ADDITIONAL PAYEES

 Name of Payee                                   Total Loss**         Restitution Ordered                Priority or Percentage
 Chris and Laura Fowler                           $64,425.54             $64,425.54
 Susan Fowler                                     $88,000.00             $88,000.00
 Westcor Land Title (formerly Ganz)               $92,400.00             $92,400.00
 Gerald & Gertie Geurin                           $88,000.00             $88,000.00
 Diane E. Glaser, Living Trust                    $79,717.56             $79,717.56
 Jeffrey B. Grafton                               $156,236.30            $156,236.30
 Mark Grissom                                     $77,941.20             $77,941.20
 Samuel & Sarah Grondin                           $56,786.20             $56,786.20
 Robert M. Haddock                                $494,320.00            $494,320.00
 Metal Roof (Robert Haddock)                      $253,175.84            $253,175.84
 Renee Hames                                      $92,500.00             $92,500.00
 Mark & Peggy Henjum                              $132,318.10            $132,318.10
 Cynthia Henson                                   $17,597.96             $17,597.96
 Edward H. Houle                                  $132,000.00            $132,000.00
 Patrick & Susie Houle                            $133,650.00            $133,650.00
 John O. Howard, Jr.                              $216,773.12            $216,773.12
 Scott Charles Ignatius                           $286,140.00            $286,140.00
 Pearl R. Jackson                                 $129,050.00            $129,050.00
 Richard Jackson                                  $410,884.50            $410,884.50
 Richard C. & Pearl R. Jackson                    $71,538.52             $71,538.52
 Lois H. Jackson                                  $183,530.56            $183,530.56
 Christopher A. Jahns                             $89,700.00             $89,700.00
 Venkatesan & Jayanthi Kailasam                   $5,588.63              $5,588.63
 Hunter Kemper                                    $148,500.00            $148,500.00
 Larry & Pauline King                             $304,642.77            $304,642.77
 Brent W. King                                    $29,600.00             $29,600.00
 Doug Klimas                                      $165,266.66            $165,266.66
 Douglas J. & Donna K. Klimas                     $296,661.16            $296,661.16
 Donna K. Klimas                                  $154,939.79            $154,939.79
 Good Life Properties (Klimas)                    $23,850.00             $23,850.00
 Randy Knoche                                     $80,000.00             $80,000.00
 Bernard L. & Ruthanne Koch                       $199,000.00            $199,000.00
 Jeff Koch                                        $198,500.00            $198,500.00
 Joyce Koch Living Trust                          $183,050.00            $183,050.00
 Scott R. Koch Living Trust                       $243,950.00            $243,950.00
 Donald & Carol Koenig Revocable Trust            $295,723.15            $295,723.15
 Lindholm Family Trust                            $34,964.72             $34,964.72
 Rob Loren                                        $31,536.10             $31,536.10
 Rob Loren Revocable Trust                        $85,424.24             $85,424.24
 Glenn W. & Elizabeth W. Lutjens                  $148,913.15            $148,913.15
 Kim Young-Wha, Kim Lutjens Trust                 $10,003.66             $10,003.66
 M&M Technology LLC (Mark Manthei)                $847,309.44            $847,309.44
 Robert S. Maness                                 $267,874.30            $267,874.30
 Timothy J. & Janice C. Mayer                     $100,889.63            $100,889.63
 Michael McCoy                                    $56,440.56             $56,440.56
 John McDougal                                    $57,835.44             $57,835.44
 Aspen Capital (formerly McDougall                $104,111.55            $104,111.55
 Capital Management LLC)
 Mark McMillen                                   $799,252.32             $799,252.32
 Sue McMillen                                    $21,643.57              $21,643.57
 Robyn Menard a/k/a Robyn Haddock                $132,920.00             $132,920.00
 Maureen L. Miller                               $159,647.71             $159,647.71
 Judy A. Moffat                                  $409,017.98             $409,017.98
 Gerald Mork                                     $39,479.36              $39,479.36
 William & Mary Emily Nelson                     $68,000.00              $68,000.00
 Michael O’Connor Revocable Trust                $39,179.05              $39,179.05
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    Name of Payee                                Total Loss**            Restitution Ordered                   Priority or Percentage
    Paulette O’Hotto                              $228,750.00               $228,750.00
    OREV, LLC (Elliott Orsillo)                   $129,924.82               $129,924.82
    Corliss Palmer                                $67,366.88                $67,366.88
    Parks Properties                              $154,259.22               $154,259.22
    John Reinsma                                  $42,300.00                $42,300.00
    Darryn Roasa                                  $88,000.00                $88,000.00
    David C. Roudebush                            $182,355.19               $182,355.19
    Joseph A. & Melissa Saliba                    $11,046.44                $11,046.44
    Lauren D. Schneider Revocable Trust           $142,500.00               $142,500.00
    Grant & Lauren Schneider                      $263,295.44               $263,295.44
    Justin & Rebecca Scott                        $94,800.00                $94,800.00
    Simpson Living Trust                          $18,650.28                $18,650.28
    Cecil D. & Elizabeth A. Revocable Trust       $66,750.00                $66,750.00
    Dean Steward                                  $58,967.93                $58,967.93
    Leona Strait                                  $74,000.00                $74,000.00
    Robbie D. Strait                              $165,621.97               $165,621.97
    Michael & Linda Thornton                      $183,950.44               $183,950.44
    David W. Tinkle, Jr.                          $48,000.00                $48,000.00
    David W. Tinkle, Sr.                          $99,000.00                $99,000.00
    Robyn Tinkle                                  $50,000.00                $50,000.00
    Truesdell Family Trust                        $24,000.00                $24,000.00
    Eric E. & Janet Y. Wermel                     $31,926.53                $31,926.53
    Gregory T. & Kelly J. Wise                    $182,616.79               $182,616.79


 TOTALS                            $      14,528,206.39                 $     14,528,206.39
* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ‫ ܆‬Lump sum payment of $                                    due immediately, balance due

             ‫܆‬     not later than                                    , or
             ‫܆‬     in accordance with ‫܆‬          C,   ‫܆‬      D,      ‫ ܆‬E, or ‫ ܆‬F below; or

 B     ‫ ܈‬Payment to begin immediately (may be combined with ‫܆‬                     C,      ‫ ܆‬D, or       ‫ ܈‬F below); or

 C     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

 D     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                            (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     ‫ ܆‬Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
             The special assessment is due immediately. The defendant shall make payment on the restitution obligation that remains unpaid at
             the commencement of supervised release. Within 60 days of commencement of supervision, the defendant shall meet with the
             probation officer to develop a plan for the payment of restitution. This plan will be based upon the defendant’s income and
             expenses. The plan will be forwarded to the Court for review and approval. The balance of the monetary obligations will be paid
             in monthly installments calculated as at least 10 percent of the defendant’s gross monthly income.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


 ‫܆‬     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.



 ‫܆‬     The defendant shall pay the cost of prosecution.

 ‫܆‬     The defendant shall pay the following court cost(s):

 ‫܈‬     The defendant shall forfeit the defendant’s interest in the following property to the United States:
       As addressed in the Preliminary Order of Forfeiture, filed April 25, 2018 in Docket No. 32.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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